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                                          State of New Jersey
PHILIP D. MURPHY                        OFFICE OF THE ATTORNEY GENERAL                                      MATTHEW J. PLATKIN
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                                                DIVISION OF LAW
TAHESHA L. WAY                                       PO Box 45029                                           MICHAEL T.G. LONG
   Lt. Governor                                   Newark, NJ 07101                                                Director




                                           November 26, 2024

       VIA ECF
       Hon. Leda Dunn Wettre, U.S.M.J.
       United States District Court
       District of New Jersey
       Martin Luther King Jr. Federal Building
       & U.S. Courthouse
       50 Walnut Street
       Newark, New Jersey 07101

                   Re:    United States, et al. v. Apple Inc.
                          Case No. 2:24-cv-04055
                          Pro Hac Vice Admission Motion on Consent

       Dear Judge Wettre:

            This Office, by and through the Attorney General Matthew J.
       Platkin, represents the Plaintiff State of New Jersey (“New
       Jersey”) in the above-captioned matter.    This correspondence is
       respectfully submitted, in lieu of a notice of motion, in
       accordance with Your Honor’s judicial preferences, in support of
       New Jersey’s motion for an Order admitting pro hac vice Caitlin M.
       Madden, counsel for the Plaintiff State of Wisconsin. Defendant
       Apple Inc. consents to the pro hac vice admission of Ms. Madden.

            In support of New Jersey’s motion, enclosed please find the
       Certification of Andrew F. Esoldi, Deputy Attorney General, and
       the certification of Caitlin M. Madden seeking pro hac vice
       admission to represent the Plaintiff State of Wisconsin.    Also
       enclosed is a proposed Order.

            As set forth more fully in the enclosed certifications,
       pursuant to Local Rule 101.1(c), New Jersey will appear in this
       action, including all court appearances, on behalf of the Plaintiff


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State of Wisconsin, accept service of all court filings, and
otherwise serve as local counsel. Ms. Madden has advised me that
she is a member in good standing of the bars to which she is
admitted, specializes in the field of antitrust law, and is
familiar with the facts of the case, issues, and pleadings. For
these reasons, it is respectfully submitted that good cause exists
for pro hac vice admission of Ms. Madden.

     New Jersey respectfully requests that Your Honor enter an
Order admitting counsel to represent the respective Plaintiff-
States pursuant to Local Civil Rule 101.1(c).

     Your Honor’s time and consideration of this matter are greatly
appreciated.



                             Respectfully submitted,

                             MATTHEW J. PLATKIN
                             ATTORNEY GENERAL OF NEW JERSEY


                             By:_______________________________
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CC: All Counsel of Record (via ECF)
